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                Exhibit B
Supplemental Declaration of Joni Ostler
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 7                              UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9
     SECURITIES AND EXCHANGE
10   COMMISSION,
                                                   Case No.: 2:22-cv-00612-JCM-EJY
11                 Plaintiff,
     v.
12                                                 SUPPLEMENTAL DECLARATION OF
     MATTHEW WADE BEASLEY; BEASLEY                 JONI OSTLER IN SUPPORT OF
13   LAW GROUP PC; JEFFREY J. JUDD;                PRELIMINARY INJUNCTIVE RELIEF
     CHRISTOPHER R. HUMPHRIES; J&J
14   CONSULTING SERVICES, INC., AN
     ALASKA CORPORATION; J&J
15   CONSULTING SERVICES, INC., A
     NEVADA CORPORATION; J and J
16   PURCHASING LLC; SHANE M. JAGER;
     JASON M. JONGEWARD; DENNY
17   SEYBERT; and ROLAND TANNER;
18                Defendants,
19   THE JUDD IRREVOCABLE TRUST; PAJ
     CONSULTING INC; BJ HOLDINGS LLC;
20   STIRLING CONSULTING, L.L.C.; CJ
     INVESTMENTS, LLC; JL2
21   INVESTMENTS, LLC; ROCKING HORSE
     PROPERTIES, LLC; TRIPLE THREAT
22   BASKETBALL, LLC; ACAC LLC;
     ANTHONY MICHAEL ALBERTO, JR.; and
23   MONTY CREW LLC;
24                Relief Defendants.
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 1          I, Joni Ostler, do hereby declare, under penalty of perjury, in accordance with 28 U.S.C.

 2 § 1746, that the following is true and correct to the best of my belief and, further, that this

 3 declaration is made on my personal knowledge, and that I am competent to testify as to the

 4 matters herein stated.

 5          1.      I am over the age of 21 and a resident of the State of Utah.

 6          2.      Attached hereto as Exhibit 42 is a true and correct copy of the Declaration of

 7 Mark Holt and its accompanying exhibits.

 8          3.      Attached hereto as Exhibit 43 is a true and correct copy of the Declaration of
 9 Elizabeth Chinlam Lewis and its accompanying exhibits.

10          4.      There was an inadvertent error in my declaration dated April 12, 2022. Paragraph
11 27 of my April 12, 2022 declaration stated Exhibit 13 to my declaration is a certified transcript of

12 a video recording provided to the SEC staff of a February 17, 2022 meeting on a private jet

13 between Mark Holt, a confidential source using the alias “Mike,” Shane Jager, and Jason

14 Jongeward. In fact, the transcript attached as Exhibit 13 to my declaration is a true and correct

15 copy of the certified transcript of an audio recording of that meeting taken by “Mike” on his

16 smart phone.

17          I declare under penalty of perjury that the foregoing is true and correct.
18          Executed this 19th day of April, 2022 in Salt Lake City, Utah.

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                                           __/s/ Joni Ostler__________ _________________
20                                           Joni Ostler
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